                                                        United States District Court
                                                        Central District of California                           10/21/2020
                                                                                                                       dj




UNITED STATES OF AMERICA vs.                                                Docket No.             2:20-CR-497-LAL (CC37 – 9460106)

Defendant         TERRY D. STINNETT                                         Social Security No. 1           6    0      9

akas:                                                                       (Last 4 digits)

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                     MONTH   DAY   YEAR
           In the presence of the attorney for the government, the defendant appeared in person on this date.         10     21     20


  COUNSEL                                                                 Christine Yonan, FPD
                                                                             (Name of Counsel)

      PLEA            X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO              NOT
                                                                                                                CONTENDERE          GUILTY
                      There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
  FINDING
                      21 USC 844, Simple Possession

JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that:
  ORDER


       It is adjudged that the defendant shall pay a special assessment of $25.00 on or before November 18, 2020,
pursuant to the Notice of Order for Payment of Fine. The fine is waived.

       It is the judgment of the Court that the imposition of jail time shall be suspended and the defendant shall be
placed on supervised probation for a period of one year under the following terms and conditions:

1.     The defendant shall comply with the rules and regulations of the Probation Office and Amended General Order
20-04. Standard Condition of Probation 4 regarding out-of-district travel is stricken.

2.     The defendant shall refrain from any unlawful use of a controlled substance and submit to one drug test within
15 days of placement on probation and two periodic drug tests thereafter, not to exceed eight tests per month.

3.    The defendant shall register with the Probation Office within 72 hours from the day sentence is imposed.
Defendant may register by telephone.

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          Defendant is notified of the right to appeal the sentence within 14 days.


In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.




          October 21, 2020
           Date                                                  Louise A. LaMothe, U. S. Magistrate Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                 Clerk, U.S. District Court




          October 21, 2020                                 By
           Filed Date                                            Debbie Johnston, Deputy Clerk




The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                           STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                            While the defendant is on probation or supervised release pursuant to this judgment:




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1.   The defendant must not commit another federal, state, or local          9.      The defendant must not knowingly associate with any persons
     crime;                                                                          engaged in criminal activity and must not knowingly associate with
2.   The defendant must report to the probation office in the federal                any person convicted of a felony unless granted permission to do so
     judicial district of residence within 72 hours of imposition of a               by the probation officer. This condition will not apply to intimate
     sentence of probation or release from imprisonment, unless                      family members, unless the court has completed an individualized
     otherwise directed by the probation officer;                                    review and has determined that the restriction is necessary for
3.   The defendant must report to the probation office as instructed by              protection of the community or rehabilitation;
     the court or probation officer;                                         10.     The defendant must refrain from excessive use of alcohol and must
4.   The defendant must not knowingly leave the judicial district                    not purchase, possess, use, distribute, or administer any narcotic or
     without first receiving the permission of the court or probation                other controlled substance, or any paraphernalia related to such
     officer;                                                                        substances, except as prescribed by a physician;
5.   The defendant must answer truthfully the inquiries of the probation     11.     The defendant must notify the probation officer within 72 hours of
     officer, unless legitimately asserting his or her Fifth Amendment               being arrested or questioned by a law enforcement officer;
     right against self-incrimination as to new criminal conduct;            12.     For felony cases, the defendant must not possess a firearm,
6.   The defendant must reside at a location approved by the probation               ammunition, destructive device, or any other dangerous weapon;
     officer and must notify the probation officer at least 10 days before   13.     The defendant must not act or enter into any agreement with a law
     any anticipated change or within 72 hours of an unanticipated                   enforcement agency to act as an informant or source without the
     change in residence or persons living in defendant’s residence;                 permission of the court;
7.   The defendant must permit the probation officer to contact him or       14.     The defendant must follow the instructions of the probation officer
     her at any time at home or elsewhere and must permit confiscation               to implement the orders of the court, afford adequate deterrence
     of any contraband prohibited by law or the terms of supervision                 from criminal conduct, protect the public from further crimes of the
     and observed in plain view by the probation officer;                            defendant; and provide the defendant with needed educational or
8.   The defendant must work at a lawful occupation unless excused by                vocational training, medical care, or other correctional treatment in
     the probation officer for schooling, training, or other acceptable              the most effective manner.
     reasons and must notify the probation officer at least ten days
     before any change in employment or within 72 hours of an                ///
     unanticipated change;




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  X The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

          STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be
subject to penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not
applicable for offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check
or money order made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number.
Payments must be delivered to:

                      United States District Court, Central District of California
                      Attn: Fiscal Department
                      255 East Temple Street, Room 1178
                      Los Angeles, CA 90012

or such other address as the Court may in future direct.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

         The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in
the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C.
§3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or
the victim, adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for
probation 18 U.S.C. §3563(a)(7).

          Payments shall be applied in the following order:

                      1. Special assessments pursuant to 18 U.S.C. §3013;
                      2. Restitution, in this sequence (pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                      5. Other penalties and costs.

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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                      to
Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on                                                                    to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                    United States Marshal


                                                             By
           Date                                                     Deputy Marshal




                                                                CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.
                                                                    Clerk, U.S. District Court


                                                             By
           Filed Date                                               Deputy Clerk




                                                 FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


          (Signed)
                      Defendant                                                                  Date




                      U. S. Probation Officer/Designated Witness                                 Date



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